Case 3:07-cv-00043-LPR Document17 Filed 05/17/07 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
600 WEST CAPITOL, SUITE 423
LITTLE ROCK, ARKANSAS 72201-3325
501.604.5140
Facsimile 501.604.5149

BILL WILSON
JUDGE

May 17, 2007

Mr. David A. Grace

Hardin & Grace, P.A.

500 Main St., Suite A

P.O. Box 5851

North Little Rock, AR 72119-5851 By fax 501-376-6337

Mr. Justin R. Giles, III

Less, Getz & Lipman

100 Peabody Place, Suite 1150

Memphis, TN 38103 By fax 901-525-3569

RE: Old St. Paul Missionary Baptist Church v. First Nation Insurance Group, et al.,
3:07CV00043-WRW

Dear Counsel:

I plan to grant your motion to withdraw as counsel for Defendants on or about May 24, 2007; but I
want you to forthwith notify each Defendant of this by fax and regular mail.

Please inform me, opposing counsel, and the clerk of the court when this notice had been sent.

Defendants must forthwith notify me of the name(s) of new counsel, or that no new counsel will
be retained. Defendants must do this by Thursday, May 31, 2007.

Cordiall

m. R. Wilson, Jr.

Original to Clerk, James McCormack
cc: Mr. Lawrence W. Jackson
Rieves, Rubens & Mayton
P.O. Box 1359
West Memphis, AR 72303-1359 By fax 870-735-8825
Case 3:07-cv-00043-LPR Document17 Filed 05/17/07 Page 2 of 2

FAX COVER SHEET

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

Telephone 501-604-5140
Fax Number 501-604-5149

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TO: , {a tsao. Cie GC DATE: S)\a [o4
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Fax No.

There are a pages, including this cover sheet, being sent by this facsimile
transmission.

MESSAGE SENT BY:

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Office bf J ge Wm. R. Wilson, Jr.
U.S. District Court

600 West Capitol, Room 423

Little Rock, Arkansas 72201

 

Direct Phone Numbers:
Matt Morgan, Senior Law Clerk 604-5141
Valerie Fortner, Law Clerk (odd case numbers) 604-5142
Mary Johnson, Courtroom Deputy 604-5144
Christa Newburg, Court Reporter 604-5145

Eileen Harrison, Law Clerk (even case numbers) 604-5148
